Case:18-10965-TBM Doc#:144 Filed:11/16/18          Entered:11/16/18 14:45:21 Page1 of 6



                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

 In re:                                   )
                                          )
 11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
 EIN XX-XXXXXXX                           )      Chapter 11
                                          )
 Debtor.                                  )

 COVER SHEET FOR FIRST AND FINAL APPLICATION FOR ALLOWANCE AND
 PAYMENT OF COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
 WEINMAN & ASSOCIATES, P.C.

 Name of Applicant: Weinman & Associates, P.C.

 Authorized to Provide Professional Services to: 11380 Smith Rd LLC, Debtor-in-Possession
 (“Debtor”)

 Date of Order Authorizing Employment: March 9, 2018

 Period for Which Compensation is Sought: February 13, 2018 through October 31, 2018

 Amount of Compensation Sought: $23,147.04.

 Amount of Expense Reimbursement Sought: $0.00 (Weinman & Associates, P.C. incurred
 a total of $1,020.66 in expenses and has reimbursed a total of $1,020.66 from interim
 payments).

 This is the First and Final Application for Allowance and Payment of Compensation and
 Reimbursement of Expenses of Weinman & Associates, P.C.

 Weinman & Associates, P.C. received a total pre-petition retainer in the amount of
 $20,000.00 from the Debtor. Of the $20,000.00 pre-petition retainer, $8,562.00 was
 expended by Weinman & Associates, P.C. for pre-petition legal services and expenses for
 the Debtor-in-Possession. The balance of the retainer, $11,438.00, was deposited in the
 COLTAF account of Weinman & Associates, P.C.

 On March 26, 2018, the Court entered an Order Approving Interim Advance Payment
 Procedures authorizing interim payments to the Debtor’s Professionals. Weinman &
 Associates, P.C. has utilized the procedure set forth in the Court’s Order dated March 26,
 2018, and has applied a total of $21,329.42 to its outstanding fees and reimbursement of
 expenses on an interim basis, including funds held in its Coltaf account and additional
 interim payments. There remains unpaid allowed attorney’s fees in the amount of
 $23,147.04 and unpaid expenses in the amount of $0.00 (Weinman & Associates, P.C.
 incurred a total of $1,020.66 in expenses which were reimbursed pursuant to the Court’s
 March 26, 2018 Order).
Case:18-10965-TBM Doc#:144 Filed:11/16/18          Entered:11/16/18 14:45:21 Page2 of 6




 Weinman & Associates, P.C. is requesting that it be allowed unpaid attorney’s fees in the
 amount of $23,147.04, unpaid expenses in the amount of $0.00, and that the interim
 payments in the amount of $21,329.42 made during the pendency of the Chapter 11 case,
 be approved by the Court.

 DATED: November 16, 2018
Case:18-10965-TBM Doc#:144 Filed:11/16/18              Entered:11/16/18 14:45:21 Page3 of 6



                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                      )
                                             )
 11380 SMITH RD LLC                          )       Case No. 18-10965 TBM
 EIN XX-XXXXXXX                              )       Chapter 11
                                             )
 Debtor.                                     )


 FIRST AND FINAL APPLICATION FOR ALLOWANCE AND PAYMENT OF COMPENSA-
 TION AND REIMBURSEMENT OF EXPENSES OF WEINMAN & ASSOCIATES, P.C.


        Weinman & Associates, P.C. ("Applicant"), counsel for Debtor-in-Possession, 11380
 Smith Rd LLC (“Debtor”), pursuant to 11 U.S.C. § 331, hereby submits this First and Final
 Application for Allowance and Payment of Compensation and Reimbursement of Expenses.
 In support thereof, the Applicant states as follows:

 1.       On February 13, 2018, the Debtor filed its voluntary petition for relief under Chapter
          11 of the Bankruptcy Code.

 2.       On March 9, 2018, this Court authorized the Debtor to employ Weinman &
          Associates, P.C. as counsel for the Debtor to represent the Debtor in connection
          with the within Chapter 11 bankruptcy proceeding.

 3.       The Debtor owns warehouse and office property in Aurora, Colorado.

 4.       Pursuant to this Court's authorization, professional services were rendered by
          Applicant in connection with the Debtor’s Chapter 11 bankruptcy proceeding. A
          biographical description of each individual attorney who performed services on
          behalf of the Debtor is attached hereto and incorporated herein by this reference as
          Exhibit “A”. A work summary of the services performed by Applicant is attached
          hereto as Exhibit “B”. Copies of Applicant’s billing statements for the pertinent
          period are attached hereto and incorporated herein by this reference as Exhibit “C”.

 5.       The within Application represents the First and Final Application for Compensation
          and Reimbursement of Expenses filed by Weinman & Associates, P.C. with respect
          to its representation of the Debtor in connection with the within Chapter 11
          bankruptcy proceeding.

 6.       There is no agreement or understanding between Applicant or any other person for
          the sharing of compensation to be received for services rendered in this case.
Case:18-10965-TBM Doc#:144 Filed:11/16/18                   Entered:11/16/18 14:45:21 Page4 of 6



 7.      No compensation requested with respect to this proceeding is to be shared with any
         person contrary to the provisions of the Bankruptcy Code.

 8.      On March 26, 2018, the Court entered an Order Approving Interim Advance
         Payment Procedures wherein the Debtor is authorized to pay 80% of Applicant’s
         attorney’s fees and 100% of Applicant’s expenses on a monthly basis.

 9.      Applicant received a $20,000.00 pre-petition retainer from the Debtor. Applicant
         expended $8,562.00 of the retainer on pre-petition legal services and reimbursem-
         ent of expenses, including the Chapter 11 filing fee, on behalf of the Debtor. The
         balance of the retainer, $11,438.00 was placed in Applicant’s Coltaf account.
         Pursuant to the Court’s March 26, 2018 Order, Applicant applied $11,438.00 from
         its Coltaf account to its unpaid fees and reimbursement of expenses. Furthermore,
         Applicant received $9,891.42 in additional interim payments from the Debtor. A total
         of $21,329.42 was paid to Applicant on an interim basis. There is currently a balance
         of $0.00 in Applicant’s Coltaf account.

 10.     Applicant hereby seeks allowance of unpaid compensation in the amount of
         $23,147.04 for legal services performed and reimbursement of expenses in the
         amount of $0.001 for a total sum of $23,147.04 for the time period from February 13,
         2018 through October 31, 2018, the date the Debtor’s Second Amended Plan of
         Reorganization was confirmed by the Court.

 11.     Applicant believes that the reasonable value of the unpaid services performed and
         expenses incurred is $23,147.04. Applicant requests that it be allowed and paid
         total unpaid attorneys’ fees and reimbursement of expenses in the amount of
         $23,147.04, that the interim payments made to Applicant in the total amount totaling
         $21,329.42 made during the pendency of this case be approved. In connection with
         the valuation of Applicant's services, Applicant considered the experience of the
         attorneys performing services and the time actually spent by each person. Applicant
         believes that the hourly rates of the attorneys are consistent with the rates of
         comparable services performed by attorneys of like experience and quality with
         regard to the work performed.

        WHEREFORE, for the reasons as set forth above, Weinman & Associates, P.C.
 respectfully requests pursuant to 11 U.S.C. §331 that this Court enter an Order for
 allowance and payment of total compensation and expenses on a final basis in the amount
 of $23,147.04 for the time period from February 13, 2018 through October 31, 2018, that
 the interim payments in the total amount of $21,329.42 be approved, and for such other
 and further relief as this Court deems appropriate.




                 1
                  Applicant incurred total expenses in the amount of $1,020.66 and applied $1,020.66 to
 its unpaid expenses from the Coltaf retainer and additional interim payments received from the Debtor.
Case:18-10965-TBM Doc#:144 Filed:11/16/18   Entered:11/16/18 14:45:21 Page5 of 6



 DATED: November 16, 2018

                                   Respectfully Submitted,

                                   WEINMAN & ASSOCIATES, P.C.



                                   By: /s/ Jeffrey A. Weinman
                                           Jeffrey A. Weinman, #7605
                                           730 17th Street, Suite 240
                                           Denver, CO 80202-3506
                                           Telephone: (303) 572-1010
                                           Facsimile: (303) 572-1011
                                           jweinman@weinmanpc.com
                                   Attorneys for Debtor-in-Possession
Case:18-10965-TBM Doc#:144 Filed:11/16/18           Entered:11/16/18 14:45:21 Page6 of 6



 9013-1 CERTIFICATE OF SERVICE OF MOTION, NOTICE AND PROPOSED ORDER

        The undersigned certifies that on November 16, 2018, I served by prepaid first class
 mail a copy of the COVER SHEET and FIRST AND FINAL APPLICATION FOR
 ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
 EXPENSES OF WEINMAN & ASSOCIATES, P.C., notice and proposed order on all
 parties against whom relief is sought and those otherwise entitled to service pursuant to
 the FED.R.BANKR.P. and these L.B.R. at the following addresses:

 Daniel J. Morse, Esq.
 U.S. Trustee’s Office
 308 W. 21st St., Room 203
 Cheyenne, WY 82001

 Samuel Boughner, Esq.
 U.S. Trustee’s Office
 1961 Stout St., Ste. 12-200
 Denver, CO 80294

 11380 Smith Rd LLC
 Attn: Louis Hard, Manager/Member
 11380 East Smith Road
 Aurora, CO 80010

 Timothy M. Swanson, Esq.
 Scott C. James, Esq.
 Moye White LLP
 1400 16th Street, Sixth Floor
 Denver, CO 80202

                                                  /s/ Lisa R. Kraai
